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                             UN ITED STA TES DISTR ICT CO U R T
                             SO U TH ERN DISTR IC T O F FL O RID A

                            CA SE N O .18-cr-80160-D lM ITR O ULEA S


  UM TED STATESOF AM ERICA                                                        Sealed

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                                                    FILE D U ND ER SEAL          FILED by    .     D.C.
  M UL G O R RIN ,
                                                                                   2:1 2 l 2218
          D efendant.
                                           /                                       STEVEN M LARIMORU
                                                                                   CLERK U.s.DlsT.cT.
                                                                                    s o.ofFLA.- MIAMI
                                N O TIC E O F R ELA TED A C TIO N

          The United States ofA m erica respectfully tiles thisN otice ofR elated A ction,pursuantto

   Rule 3.8,LocalRulesofthe United States DistrictCourtforthe Southern DistrictofFlorida,and

   asdesclibed in Section 2.15.00 ofthe Court'sInternalOperating Procedures,to apprisetheCourt

  of tw o sim ilar actions tiled on Decem ber 22,2017 and M arch 20,2017 that are related to this

  matter, United States v.Sealed Defendant,CaseNo.17-20883-CR-ROSENBERG and United
   States.v.SealedDefendant,CaseNo.18-80054-CR-ROSENBERG (collectivelyRelatedCases).
   The factualallegationsofthis case have s'
                                           ubstantialoverlap w ith the factualallegations setforth

   in,theRelated Cases,asD efendantRaulGorrin hasbeen referenced asan unnam ed and unindicted

   coconspirator. Further,the conspiracy charged in theRelated Cases isdirectly related and partof

   the conspiracy charged in this case.
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          The United States apprises the Courtas to the filing of a sim ilar action pursuantto the

   requirementsofLocalRule3.8,andforjudicialeconomynotifiestheCourttodeterminewhether

   theGorrincaseshouldbeheardbythesarnepresidingjudgealreadyfamiliarwiththeconspiracy
   previously charged in the Related Cases.

   D ated:D ecem ber 14,2017

                                              Respectfully subm itted,

                                              A RIA N A FA RJA RD O ORSHA N
                                              UN ITED STA TES A T ,      Y,
                                                                      /z:7
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